Case 2:05-cV-02122-.]P|\/|-de Document 8 Filed 06/08/05 Page 1 of 3 Page|D 17

IN THE UNITED sTATEs DISTRICT COURT FH~ED B‘Y’\ ,,.l_D.C."
FOR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIvIsIoN 05 JUH “8 PH he |l,

 

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vICKY PARsoN,
W.D, 0!= Tw, :J.EMPHJS

Plaintiff,
v. NO. 05-2122 Ml/V
DAIMLERCHRYSLER CORPORATION,

Defendant.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule l€(b) Scheduling Order
was entered on May 19, 2005, by United States Magistrate Judge
Diane K. Vescovo. In accordance with the deadlines established in
that order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last three to four (3-4) days, is set to begin Mondayc
April 24, 2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Monday, April 17, 2006
at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on April 10¢ 2006.

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Case 2:05-cV-02122-.]P|\/|-de Document 8 Filed 06/08/05 Page 2 of 3 Page|D 18

Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this §§ day of June, 2005.

wm@.§@

 

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02122 Was distributed by faX, mail, or direct printing on

June 13, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

